               Case 01-01139-AMC                    Doc 7368-1           Filed 12/27/04     Page 1 of 1




 1   CHRISTOPHER E. GRELL (No. 88498)
     RICHARD F. RESCHO (No. 108086)
 2   LAW OFFICES OF
     CHRISTOPHER E. GRELL
 3   The Broadlake  Plaza
     360 22ND Street, Suite 320
 4   Oakland, CA 94612
     Telephone: (510) 832-2980
 5
     Attorneys for Plaintiffs
 6
 7
                                              UNITED STATES DISTRICT COURT
 8                                            FOR THE DISTRICT OF DELAWARE
 9
10   In re:                                                                   United States Bankruptcy Court
                                                                              Chapter 11 Case Nos:
11   OWENS CORNING, W.R. GRACE & CO., USG
     CORPORATION, UNITED STATES MINERAL                                           00-3837JKF
12   PRODUCTS COMPANY, KAISER                                                     01-1139JKF
     ALUMINUM CORPORATION, THE                                                    01-2094JKF
13   FLINTKOTE COMPANY, FLINTKOTE                                                 01-2471JKF
14   MINES LIMITED,                                                               02-10429JKF
                                                                                  04-11300JKF
15                       Debtors.                                                 04-12440

16
17
18                                        NOTICE OF FILING OF VERIFED STATEMENT
                                             PURSUANT TO FED. R.BANKR.P. 2019
19
               Pursuant to the above – entitled Court’s order dated October 22, 2004, please TAKE NOTICE
20
     that the LAW OFFICES OF CHRISTOPHER E. GRELL has filed its Fed.R.Bankr.P. 2019 statement
21
22   with the Court identifying claimants represented by this office.

23
     Dated: December ________, 2004
24
                                                                   LAW OFFICES OF CHRISTOPHER E. GRELL
25
26
                                                                   By_________________________________
27                                                                               Richard F. Rescho
28

                                                                         -1-
     Notice of Filing of Verified Statement Pursuant to FED.R.BANKR.P. 2019
